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 1                                                         HONORABLE DAVID G. ESTUDILLO
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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT TACOMA
 9
10    PAUL D. ETIENNE, JOSEPH J. TYSON,
      THOMAS A. DALY, FRANK R. SCHUSTER,                      No. 3:25-cv-05461-DGE
11    EUSEBIO   L.  ELIZONDO,  GARY   F.
12    LAZZERONI, GARY M. ZENDER, ROBERT                       STIPULATED MOTION TO
      PEARSON, LUTAKOME NSUBUGA, JESUS                        CONTINUE DEADLINE TO FILE
13    MARISCAL, MICHAEL KELLY,                                ANSWER
14
                                                              AND
                                  Plaintiffs,
15             v.                                             [PROPOSED] ORDER
16
      ROBERT W. FERGUSON, in his official                     NOTING DATE: June 30, 2025
17    capacity as Governor of Washington, et al.,
18
                                 Defendants.
19
            Defendants Curt Liedkie, Dale Slack, Ty Albertson, and Denis Tracy, by and through
20
21   their attorneys of record, and Plaintiffs, by and through their attorneys of record, hereby
22   stipulate as follows:
23
            Defendants Liedkie, Slack, Albertson and Tracy and Plaintiffs previously stipulated
24
25   that such Defendants could file their Answer by July 1, 2025 (ECF No. 139). Plaintiffs have

26   agreed to further continue the deadline for these Defendants to file their Answers to Plaintiffs’
27
     Complaint to August 5, 2025.
28
29
30
     STIP. TO EXTEND DEADLINE TO
     RESPOND TO COMPLAINT
                                                                                   818 W. Riverside, Suite 250
     (3:25-CV -05461-DGE)                                                           Spokane, WA 99201-0910
                                                                           (509) 455-5200; fax (509) 455-3632
                                                    1
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 1        DATED this 30th day of June, 2025.
 2
                                     EVANS, CRAVEN & LACKIE, P.S.
 3
 4                            By:           s/ Rachel K. Stanley
 5                                   MICHAEL E. McFARLAND, JR., #23000
                                     RACHEL K. STANLEY, #58280
 6                                   Attorneys for Defendants Curt Liedkie,
 7                                   Ty Albertson, Denis Tracy, and Dale Slack

 8
 9                                   WILMER CUTLER PICKERING HALE AND
                                       DORR LLP
10
11                                   /s/ Siddharth Velamoor
                                     Siddharth Velamoor, WSBA #40965
12                                   2100 Pennsylvania Avenue, NW
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                                     Washington, DC 20037
                                     Tel: (202) 663-6000
14                                   Fax: (202) 663-6363
                                     siddharth.velamoor@wilmerhale.com
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 1                                        [PROPOSED] ORDER
 2           PURSUANT TO THE FOREGOING STIPULATION, IT IS SO ORDERED.
 3           The Court GRANTS the Stipulated Motion to Continue Deadline to File Answer (Dkt. 65).
 4   Defendants Liedkie, Slack, Albertson and Tracy (collectively “Defendants”)’s deadline to file
 5   an answer to the Complaint shall be continued to August 5, 2025.
 6
 7           IT IS SO ORDERED.

 8           DATED this ____ day of ___________________, 2025

 9
10                                                 HONORABLE DAVID G. ESTUDILLO
                                                   CHIEF UNITED STATES DISTRICT JUDGE
11
12   Presented by:
13
             EVANS, CRAVEN & LACKIE, P.S.
14
15   By:             s/ Rachel K. Stanley
16           MICHAEL E. McFARLAND, JR., #23000
             RACHEL K. STANLEY, #58280
17           818 W. Riverside Ave, Ste. 250
18           Spokane, WA 99201
             Tel: (509) 450-5200
19           rstanley@ecl-law.com
20           Attorneys for Defendants Curt Liedkie,
             Ty Albertson, Denis Tracy, and Dale Slack
21
22
             WILMER CUTLER PICKERING HALE AND
23            DORR LLP
24
     By:     /s/ Siddharth Velamoor
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             siddharth.velamoor@wilmerhale.com
29           Attorneys for Plaintiffs
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 1                                 CERTIFICATE OF SERVICE
 2
             I hereby certify that on June 30, 2025, I electronically filed the foregoing with the
 3   Clerk of the Court using the CM/ECF System which will send notification of such filing to all
     parties registered with the CM/ECF System.
 4
 5
 6                                By:            s/Rachel K. Stanley
 7                                       Rachel K. Stanley, #58280
                                         Attorneys for Defendants Curt Liedkie,
 8                                       Ty Albertson, Denis Tracy, and Dale Slack
 9                                       Evans, Craven & Lackie, P.S.
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